Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 1 of 34 PAGEID #: 176

 
    

 

 

   

ts TRE E-COUR
so ERM DIST ORIG
STAY CINCINNATI

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 2 of 34 PAGEID #: 177

 

 

 

bre Sepia Spas S90 eskimony. 5 \hastional coin tnoldene Ce

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 3 of 34 PAGEID #: 178

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 4 of 34 PAGEID #: 179

(3)

 

 

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 5 of 34 PAGEID #: 180 ©

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 6 of 34 PAGEID #: 181

(5)

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 7 of 34 PAGEID #: 182

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 8 of 34 PAGEID #: 183

 

 

 

 

 

 

 

 

 
| Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 9 of 34 PAGEID #: 184

 

 

 

 

 

 

 

 

 

 

2 EO

 

\ :

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 10 of 34 PAGEID #: 185

(4)

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 11 of 34 PAGEID #: 186

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 12 of 34 PAGEID #: 187

(GQ)

 

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 13 of 34 PAGEID #: 188

 

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 14 of 34 PAGEID #: 189

(3) : a

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 15 of 34 PAGEID #: 190

 

 

 

 

 

 

    

ae BL oe ONE iLO pee ot ac nA apes
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 16 of 34 PAGEID #: 191

08)

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 17 of 34 PAGEID #: 192

Cie)

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 18 of 34 PAGEID #: 193

AIT)

laaae Suelo Yoat lis

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 19 of 34 PAGEID #: 194

(18)

 

 

Hoge momurt bho tacks and .

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

he gna tation

TE ge,

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 21 of 34 PAGEID #: 196

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 22 of 34 PAGEID #: 197

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 23 of 34 PAGEID #: 198

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 24 of 34 PAGEID #: 199

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 25 of 34 PAGEID #: 200

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 26 of 34 PAGEID #: 201

.

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 27 of 34 PAGEID #: 202

(2)

 

 

Qco.in, home nesaets,” Mare. hnoowledge RR 2.epRoved,wrtnourtk:
wT ¥ mt ee oS ”

 

 

 

 

 
 

Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 28 of 34 PAGEID #: 203

(2")

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 29 of 34 PAGEID #: 204

 

26 okt

 

 

 

 

 

 

 

 

 

 
 

Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 30 of 34 PAGEID #: 205

G9)

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 31 of 34 PAGEID #: 206

 

 

 

 

 

 

 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 32 of 34 PAGEID #: 207

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 
Case: 1:09-cr-00020-MRB Doc #: 61 Filed: 06/12/09 Page: 34 of 34 PAGEID #: 209

(32)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
 

 

Dis 1S 1005. Serr ro +

  

 

 

 

 

 

 

oes em ng oe = oS Sere > . ot peepee, warts mem

 

 

 
